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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 LAS AMERICAS IMMIGRANT
 ADVOCACY CENTER, et al.,

                  Plaintiffs,

         v.                                                    Civil Action No. 25-0418

 KRISTI NOEM,
 Secretary of Homeland Security, et al.,

                  Defendants.


                                    JOINT STATUS REPORT

       On February 12, 2025, the Court ordered counsel to confer and submit a Joint Status Report

addressing the following issues: (1) a proposed briefing schedule for the motion seeking a

temporary restraining order; (2) Plaintiffs' position on what, if any, irreparable harm will result if

the timeframe proposed in Defendants’ Motion for Scheduling Order, ECF No. 6, is adopted; (3)

a statement addressing whether a hearing on the request for a temporary restraining order is

necessary, and if so, a proposed date and time for such a hearing; and (4) a statement addressing

whether the Parties anticipate factual disputes between affiants. The Court also invited the parties

to address any other issues that they believe will be helpful to the Court and directed that any

disagreements be noted in the Joint Status Report. The parties conferred by telephone and by email

on February 13, and report as follows.

Proposed Briefing Schedule

       The Parties propose the following schedule:

             Defendant’s opposition brief will be filed by 12:00 pm E.T. on Thursday, February 20,

              2025.
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          Plaintiffs’ reply will be filed by Monday, February 24, 2025.

Defendants will also provide scheduled, unmonitored telephone calls from Mr. Tilso Ramon

Gomez Lugo, Mr. Yoiker David Seqera, and Mr. Luis Alberto Castillo Rivera to Plaintiffs’ counsel

prior to February 20, 2025.

Plaintiffs’ Position on Irreparable Harm

       Plaintiffs agree to the schedule proposed in Defendants’ Motion for Scheduling Order for

filing on February 18. 2025, ECF No. 6.

Statement on the Necessity of a Hearing

       The parties defer to the Court on the need for a hearing on this matter. If a hearing is

ordered, the parties propose that the Court set the hearing for the second day following the Court’s

deadline for Plaintiffs’ reply brief. Counsel defer to the Court’s schedule in setting a time for the

hearing.

Statement on Factual Disputes

       The parties are not prepared to identify factual disputes at this time. The parties will identify

disputes in response and reply briefing.

Submitted FEBRUARY 13, 2025


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